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                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 20-cv-22463-FAM


   ASHLEY HODSON,

          Plaintiff,

   v.

   MSC CRUISES, S.A.,

         Defendant.
   ________________________________________/


                               DEFENDANT’S RESPONSES TO
                       PLAINTIFF’S FIRST REQUEST FOR PRODUCTION

          Defendant, MSC CRUISES, S.A. (“MSC” or “Defendant”), hereby serves its Responses
   to Plaintiff’s First Request for Production.


                                    CERTIFICATE OF SERVICE

          WE HEREBY CERTIFY that a true and correct copy of the foregoing was sent via

   Electronic Mail to all parties on the attached service list this 2nd day of November 2020.




                                                        Respectfully submitted,

                                                        MALTZMAN & PARTNERS, P.A.

                                          By:         /s/ Steve Holman
                                                        Jeffrey B. Maltzman, Esq.
                                                        Florida Bar No. 48860
                                                        jeffreym@maltzmanpartners.com
                                                        Steve Holman, Esq.
                                                        Florida Bar No. 547840
                                                        steveh@maltzmanpartners.com
                                                        55 Miracle Mile, Suite 300
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                                             Coral Gables, FL 33134
                                             Tel: 305-779-5665
                                             Fax: 305-779-5664
                                             Attorneys for Defendant




                                   SERVICE LIST
                              CASE NO.: 20-cv-22463-FAM

   Spencer M. Aronfeld, Esq.                      Jeffrey B. Maltzman, Esq.
   aronfeld@aronfeld.com                          jeffreym@maltzmanpartners.com
   Abby Hernández Ivey, Esq.                      Steve Holman, Esq.
   aivey@aronfeld.com                             steveh@maltzmanpartners.com
   abaez@aronfeld.com                             MALTZMAN & PARTNERS, P.A.
   Matthias M. Hayashi, Esq.                      55 Miracle Mile, Suite 300
   mhayashi@aronfeld.com                          Coral Gables, FL 33134
   ARONFELD TRIAL LAWYERS                         Phone: 305-779-5665
   One Alhambra Plaza, Penthouse                  Fax: 305-779-5664
   Coral Gables, FL 33134                         Attorneys for Defendant
   Phone: 305-441-0440
   Fax: 305-441-0198
   Attorneys for Plaintiff
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                                            RESPONSES

      1. Any and all reports prepared and/or maintained by you in the ordinary course of business
         regarding the Plaintiff's accident, including the ships’ log, maintenance and/or inspection
         logs, and/or security officer watch report covering the shift during which Plaintiff’s
         accident occurred.

   RESPONSE: See documents produced.

      2. Any and all unedited copies of any video, and/or CCTV footage, of the Plaintiff during
         the entire cruise, including footage of the subject incident.

   RESPONSE: None.

      3. Any and all CCTV footage from the ship’s medical infirmary from the date of Plaintiff’s
         incident, and any other times/dates she presented to the medical center for treatment
         during the course of the voyage.

   RESPONSE: None.

      4. Any and all photographs and/or maps reflecting Plaintiff, Plaintiff’s accident, the scene of
         Plaintiff’s accident, and/or Plaintiff’s damages or injuries.

   RESPONSE: See documents produced. Additionally, Defendant is in possession of medical
   records produced by Plaintiff, which are already in Plaintiff’s possession.

      5. Any and all photographs of the subject area as it existed at or around the time of the
         subject incident.

   RESPONSE: None. Defendant is in possession of photographs produced by Plaintiff, which
   are already in Plaintiff’s possession.

      6. Any and all photographs and/or videos of the subject area as it exists currently on the
         vessel.

   RESPONSE: None.

      7. Any and all safety videotapes that are provided to passengers in their cabins at the
         beginning of their voyage.

   RESPONSE: See documents produced.

      8. Any and all "statements" of all parties to this suit, their agents and employees, and
         independent witnesses which relate to or concern Plaintiff, Plaintiff’s accident, Plaintiff’s
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          injuries, Plaintiff’s medical treatment and/or Defendant’s affirmative defenses.

   RESPONSE: Defendant responds only as to non-privileged documents: see documents
   produced.

   Notwithstanding Defendant’s response, Defendant objects that as drafted this requests a
   document covered by the attorney-client privilege and work product doctrine. Safety
   Officer Marcello Ercolano completed an incident report in anticipation of litigation on
   September 1, 2019. The report on the top of each and every page states “STRICTLY
   CONFIDENTIAL PREPARED IN ANTICIPATION OF LITIGATION AND FOR USE
   BY COMPANY ATTORNEYS.” The Defendant’s legal department and its defense counsel
   are the custodians of this report. A Privilege Log is being provided.

      9. Any and all statements given by (or taken of) the Plaintiff in Defendant’s possession,
         custody or control.

   RESPONSE: See documents produced.

      10. Any and all internal and external correspondence, email, or data in electronic form
          between guest services, medical staff, crewmembers, and staff captain regarding or
          referencing Plaintiff’s incident, or otherwise mentioning or referring to Plaintiff.

   RESPONSE: See documents produced.

      11. Any and all medical records (including medical center logs, and x-ray files) related to
          Plaintiff’s medical treatment.

   RESPONSE: See documents produced. Additionally, Defendant is in possession of medical
   records produced by Plaintiff, which are already in Plaintiff’s possession.

      12. Any and all copies of the “Daily Program” issued during the subject cruise.

   RESPONSE: Copies of the Daily Program from the subject cruise have been requested
   from the ship. To the extent that they still exist, Defendant will supplement this Response
   and produce same upon receipt.

      13. Any and all documents related to Defendant’s documentation or processing of said
          incidents, events or activities; including, but not limited to: Safety Officer Reports, Ship
          Security Incident Report, Ship Security Incident Report Log, CCTV Camera Operational
          Acknowledgment Log, Daily Security Summary Watch Report, which relate to or
          concern substantially similar incidents: to wit, slips and falls of passengers, crew or other
          persons in the subject area three (3) years prior to the date of the Plaintiff's incident to the
          present, either on the same ship or on any ships in Defendant’s fleet with similarly-styled
          decks.
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   RESPONSE: This request is unintelligible as drafted; therefore Defendant cannot respond.

      14. Any and all documents related to Defendant’s documentation or processing of said
          incidents, events or activities; including, but not limited to: Balance Score Card, Safety
          Officer Reports, Ship Security Incident Report, Ship Security Incident Report Log,
          CCTV Camera Operational Acknowledgment Log, Daily Security Summary Watch
          Report, which relate to or concern substantially similar incidents: to wit, slips and falls of
          passengers, crew or other persons injured on the subject stairs and/or other stairs with
          substantially-similar flooring for three (3) years prior to the date of the Plaintiff's incident
          to the present, either on the same ship or on any sister ships in Defendant’s fleet.

   RESPONSE: This request is unintelligible as drafted; therefore Defendant cannot respond.

      15. Any and all shipboard minutes of meetings regarding policies and procedures on the
          MSC Seaside with respect to the subject area and/or stairs on the MSC Seaside for the
          period three (3) years prior to the subject incident and up through the date of the subject
          incident in this case.

   RESPONSE: None.

      16. Any and all shipboard minutes of meetings regarding slip and fall incidents on deck 16 of
          the MSC Seaside for a period three (3) years prior to the subject incident.

   RESPONSE: Defendant responds to meetings regarding slip and fall incidents on the
   subject stairs between decks 16 and 18: none.

   Notwithstanding Defendant’s response, Defendant objects that this request is irrelevant to
   the claims and defenses of either party. Plaintiff alleged that she slipped and fell on the
   stairs from deck 17 to deck 16 and that she slipped on the step. See First Amended
   Complaint [ECF No. 6] at ¶14. Therefore, information regarding slip and falls on deck 16
   is irrelevant to the instant lawsuit. The request is overbroad, unduly burdensome, and
   disproportionate to the needs of the case.

      17. Any and all policies and/or procedures related to the proper inspection for the subject
          area where Plaintiff’s accident occurred; including inspections for dangerous/risk-
          creating hazards in the area where Plaintiff’s accident occurred.

   RESPONSE: See documents produced.

      18. Any and all policies and/or procedures related to the proper maintenance for the subject
          area where Plaintiff’s accident occurred; including maintenance for dangerous/risk-
          creating hazards in the area where Plaintiff’s accident occurred.

   RESPONSE: See documents produced.
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      19. Any and all policies and/or procedures related to the proper repairs for the subject area
          where Plaintiff’s accident occurred; including repairs for dangerous/risk-creating hazards
          in the area where Plaintiff’s accident occurred.

   RESPONSE: See documents produced.

      20. Any and all policies and/or procedures related to the proper warning of dangerous
          conditions identified by Defendant where Plaintiff’s incident occurred; including
          warnings for dangerous/risk-creating hazards in the area where Plaintiff’s accident
          occurred.

   RESPONSE: See documents produced.

      21. Any and all documents (including log entries) regarding passenger and crew complaints
          of dangerous risk-creating and/or hazardous conditions related to the subject area on the
          MSC Seaside or its sister ships for three (3) years prior and six (6) months subsequent
          where Plaintiff’s accident occurred.

   RESPONSE: Objection, this request is overbroad in scope as it encompasses documents
   that are not relevant to any party’s claim or defense and disproportionate to the needs of
   the case. The request encompasses documents from every MSC vessel in the Seaside class,
   regardless of similarity to the circumstances of Plaintiff’s alleged incident. As drafted, the
   request encompasses complaints that the carpet was ugly or that the handrail was sticky.
   None of those complaints are relevant to any party’s claim or defense. Furthermore, this
   request is unduly burdensome and disproportionate to the needs of the case.

   In addition, this request is overbroad in the time period requested. The request includes
   information after the date of Plaintiff’s incident. This request is neither proportional to the
   needs of the case and any complaints after the alleged incident are irrelevant to the claims
   or defenses of either party.


      22. Any and all cause analyses concerning Plaintiff’s accident.

   RESPONSE: None.

      23. The ship’s deck log for the date of Plaintiff’s accident.

   RESPONSE: Copies of the Bridge Log from the day of the alleged incident have been
   requested from the ship. Defendant will supplement this Response and produce same upon
   receipt.

      24. Any and all documents which reflect or concern any and all repairs, replacements, and/or
          alterations to the subject area where Plaintiff’s accident occurred since the date of that
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          accident.

   RESPONSE: Objection, this request is overbroad in the time period requested. The request
   is limited to only information after the date of Plaintiff’s incident. This request is neither
   proportional to the needs of the case and any complaints after the alleged incident are
   irrelevant to the claims or defenses of either party. Any repairs or maintenance made after
   the alleged incident would constitute inadmissible subsequent remedial measures.
      25. Any and all documents reflecting any inspections of the area where Plaintiff’s accident
          occurred for the entire cruise on which Plaintiff’s accident occurred.

   RESPONSE: None.

      26. All documentation generated for Plaintiff in relation to the voyage, including but not
          limited to sales summaries, sales receipts, cruise ticket contract, ID cards, etc.

   RESPONSE: See documents produced.

      27. Any and all reports or statements from any witness, whether a retained expert or
          otherwise, who will offer opinion testimony in this matter.

   RESPONSE: Defendant objects that this requests a document covered by the attorney-
   client privilege and work product doctrine. Safety Officer Marcello Ercolano completed an
   incident report in anticipation of litigation on September 1, 2019. The report on the top of
   each and every page states “STRICTLY CONFIDENTIAL PREPARED IN
   ANTICIPATION OF LITIGATION AND FOR USE BY COMPANY ATTORNEYS.” The
   Defendant’s legal department and its defense counsel are the custodians of this report. A
   Privilege Log is being provided.

      28. Each and every policy of insurance which may provide coverage for the claims made by
          the Plaintiff in this lawsuit (“Plaintiff’s accident”), including all excess insurance
          policies, re-insurance policies, cover sheets, and endorsements.

   RESPONSE: MSC maintains protection and indemnity coverage with Steamship Mutual
   P&I Club, whose rules of entry can be found in Benedict on Admiralty, 7th and 8th Editions.

      29. Every employee manual, policy, procedure, written protocol and video for the training of
          Defendant’s crew which relates to conducting inspections and/or maintenance of the
          location and surface where Plaintiff’s accident occurred, and which was in effect on the
          date thereof.

   RESPONSE: See documents produced.

      30. Any and all documents pertaining to any calls or communications between the medical
          staff on the subject vessel to a specialist, surgeon, offshore clinic/medical establishment
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         or any other doctor/medical professional in connection with the treatment (or lack
         thereof) Plaintiff received aboard the subject vessel.

   RESPONSE: Copies of any such documents have been requested from the ship. To the
   extent they exist, Defendant will supplement this Response and produce same upon receipt.

      31. Any and all medical records referring to the Plaintiff in Defendant’s possession, custody
          or control.

   RESPONSE: See documents produced. Additionally, Defendant is in possession of medical
   records produced by Plaintiff, which are already in Plaintiff’s possession.

      32. Any and all documents pertaining to any recommended diagnosis and treatment plan for
          Plaintiff, and/or related to Plaintiff’s medical treatment and/or incident, including any
          documents pertaining to council/medical advice provided to Plaintiff to help him make an
          informed decision about his care.

   RESPONSE: See documents produced. Additionally, Defendant is in possession of medical
   records produced by Plaintiff, which are already in Plaintiff’s possession.

      33. Any and all documents pertaining to any discussions, conversations or consultations that
          may have occurred regarding the risks and benefits of the proposed treatment plan for
          Plaintiff.

   RESPONSE: See documents produced. Additionally, Defendant is in possession of medical
   records produced by Plaintiff, which are already in Plaintiff’s possession.

      34. Any and all documentation identifying the specific crewmembers and personnel working
          in the subject vessel’s deck department or housekeeping department responsible for
          inspection, maintaining, and repairing the subject area, including roster, timecards,
          punch-in/punch-out logs, or any similarly styled documents in defendant’s possession.

   RESPONSE: None.

      35. Information and documents relating to the ship’s position and position log.

   RESPONSE: Copies of the Bridge Log from the day of the alleged incident have been
   requested from the ship. Defendant will supplement this Response and produce same upon
   receipt.

      36. Documents pertaining to the facts alleged in Plaintiff’s complaint, and any and all
          defenses asserted by the Defendant.

   RESPONSE: See documents produced.
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      37. Any/and all USCG Report of Marine Incident or their international equivalents in relation
          to Plaintiff, and any other documentation relating thereto.

   RESPONSE: None.

      38. Defendant’s policies and procedures for documenting passenger injury complaints in
          general, as well as specifically those made by the Plaintiff following reports of an injury.

   RESPONSE: See documents produced.

      39. Defendant’s policies and procedures relating to preservation of all video and CCTV
          footage of incidents resulting in passenger personal injury; and Defendant’s policies,
          procedures, and/or operational instructions regarding the handling and care thereof.

   RESPONSE: See documents produced.

      40. Any and all Reports of Marine Casualty, Commercial Diving Casualty, or OCS-Related
          Casualty that are related to Plaintiff’s incident, and all information and documents
          relating thereto.

   RESPONSE: None.

      41. For a period beginning one (1) year prior to the date of the Plaintiff’s incident to the
          present, information and documents reflecting and/or relating to the ship’s staff and
          comprehensive list of duties and responsibilities including, but not limited to, each staff
          member in command of or responsible for monitoring and/or supervising the subject area
          where Plaintiff’s incident occurred.

   RESPONSE: See documents produced.

      42. Any and all contracts between Defendant and the Plaintiff.

   RESPONSE: The ticket contract between Defendant and Plaintiff is equally available to
   Plaintiff.

      43. Any and all written correspondence between Defendant and the Plaintiff.

   RESPONSE: Any written correspondence between Defendant and Plaintiff is equally
   available to Plaintiff.

      44. Any and all ship’s log entries, for the subject voyage, which refer to: (a) the Plaintiff; (b)
          the subject incident.

   RESPONSE: None.
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       45. Any and all documents regarding the installation of the flooring located in the subject
           area on the subject vessel.

    RESPONSE: None.

       46. Any and all documents regarding any and all modifications of the subject area on the
           subject vessel.

    RESPONSE: None.

       47. Any and all of Defendant’s rules, regulations, policies and/or procedures, in effect at the
           time of the subject cruise, which pertain in any way to warnings and/or instructions
           provided to passengers regarding the wet and/or slippery decks.

    RESPONSE: See documents produced.

       48. Any and all of Defendant’s rules, regulations, policies and/or procedures, in effect at the
           time of the subject cruise, which pertain in any way to investigating incidents resulting in
           passenger personal injury (including but not limited to preserving evidence and/or taking
           photographs).

    RESPONSE: See documents produced.

       49. Any and all of Defendant’s rules, regulations, policies and/or procedures referenced in
           Defendant’s answers to Plaintiff’s interrogatories.

    RESPONSE: See documents produced.


       50. Any and all documents and/or materials, in effect on the date of the subject incident, used
           to train and/or evaluate crew members responsible for inspecting, repairing, replacing
           and/or maintaining the subject area in a reasonably safe condition, including, but not
           limited to, manuals, handbooks, company protocols, manufacturer policy
           recommendations, department regulations/guidelines, etc.

    RESPONSE: See documents produced.

       51. Any and all inspection, repair, and/or maintenance personnel check-in/check-out
           sheets/logs for the subject area on the subject vessel for one year prior to the date of the
           subject incident through thirty (30) days following the subject incident.

    RESPONSE: None.
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       52. Any and all documents regarding the maintenance, repair, inspection and/or cleaning of
           the subject area by entities and/or individuals, including but not limited to crewmembers,
           for the past three years prior to the date of the subject incident.

    RESPONSE: None.

       53. Any and all personnel files for the crewmember(s) responsible for maintaining, repairing,
           inspecting and/or cleaning the subject area during the subject cruise.

    RESPONSE: It is no longer known who was responsible for maintaining, repairing,
    inspecting, or cleaning the subject area during the subject cruise. Therefore, none.

       54. Any and all documents regarding the verification of qualifications by, or at the direction
           of, Defendant of the crewmember(s) responsible for maintaining, repairing, inspecting
           and/or cleaning the subject area during the subject cruise.

    RESPONSE: See documents produced.

       55. Any and all documents regarding the verification of qualifications by, or at the direction
           of, Defendant of the crewmember(s) responsible for instructing, overseeing, and/or
           supervising passengers traversing the subject area at the time of the subject incident.

    RESPONSE: None.
